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10                                 UNITED STATES DISTRICT COURT

11                                         DISTRICT OF NEVADA

12   CHRISTOPHER ROBERTSON,                     )
                                                )   Case No.: 2:21-cv-00928-NJK
13                 Plaintiff,                   )
                                                )   UNOPPOSED MOTION FOR EXTENSION OF
14          vs.                                 )   TIME
                                                )
15   KILOLO KIJAKAZI,                           )   (FIRST REQUEST)
     Acting Commissioner of Social Security,    )
16                                              )
                   Defendant.                   )
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 1           Defendant, the Acting Commissioner of Social Security, through the undersigned counsel, hereby
 2   requests a 14-day extension of time to respond to Plaintiff’s Complaint, which is currently due on or before
 3   July 1, 2022. The new proposed deadline is July 15, 2022.
 4           This is Defendant’s first request for an extension of time. Good cause exists for this extension
 5   because in the course of reviewing the certified administrative record for completeness, the undersigned
 6   attorney noticed an issue that she believes could necessitate remand. Defendant’s counsel is in the
 7   process of conferring with her client to determine whether this matter can be resolved by settlement. The
 8   additional requested time will allow for settlement discussions with Plaintiff’s counsel once the
 9   undersigned has conferred with her client, and if the matter cannot be resolved, Defendant will file an
10   answer and the certified administrative record as soon as practicable. Defendant’s counsel will endeavor
11   to complete these tasks as soon as possible. This request is made in good faith and with no intention to
12   unduly delay the proceedings, and counsel apologizes for any inconvenience.
13           On June 23, 2022, the undersigned conferred with Plaintiff’s counsel, who has no opposition to the
14   requested extension.
15           It is therefore respectfully requested that Defendant be granted a 14-day extension of time to file a
16   response to Plaintiff’s Complaint, through and including July 15, 2022.
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18           Dated: June 24, 2022
                                                           JASON M. FRIERSON
19                                                         United States Attorney
20                                                         /s/ Allison J. Cheung
                                                           ALLISON J. CHEUNG
21                                                         Special Assistant United States Attorney
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                                                           IT IS SO ORDERED:
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25                                                         UNITED STATES MAGISTRATE JUDGE
26                                                                 June 24, 2022
                                                           DATED: ___________________________


     Unopposed Mot. for Ext.; 2:21-cv-00928-NJK   1
